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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Jolanta Leszczynski
                             Plaintiff,
v.                                               Case No.: 1:15−cv−05860
                                                 Honorable Harry D. Leinenweber
MPR Management
                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, November 5, 2015:


        MINUTE entry before the Honorable Harry D. Leinenweber:Pursuant to the
Court's order denying without prejudice Plaintiff's motion to proceed in forma pauperis,
[4], and for attorney representation, [5], Plaintiff had until 9/6/2015 to refile these
documents. The deadline by which plaintiff's renewed motions were due has now come
and gone with no further filing having been made. Accordingly, the action is dismissed
with prejudice.Civil case terminated. Mailed notice(wp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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